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FLNB Lacal Form 5

Exhibit Tag/ Cover Sheet

Party submitting: _ Plaintiff Ex. # 67

Admitted: Yes or No (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Ady, Noa.:

Nature of Hearing/

Docket No:

Dated 07/22 , 2021.

 

By: ; Deputy Clerk
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February 14. 2018

Julian Rooks Jr,
3648 Dartford Lane
Tallahassee, FL 32311

Request No.: 18-0003G-PA

The U.S. Department of Education (ED) is responding to your request for certain records
in its files pertaining to student loans. Pursuant to your request ED has conducted a search
for the information.

Along with information that other laws require be withheld, or which is overly
burdensome to furnish or involves internal concerns exclusively, any information related
to personal privacy, financial institutions and banks, attorney-client privilege, and law
enforcement activities will likewise be redacted from materials ED is furnishing.
Authority for withholding certain types of documents or portions thereof is to be found in
> U.S.C. 552 and or 5 U.S.C. 552a. Denials of information may be appealed to ED’s
Assistant Secretary for the Office of Management, in Washington, DC, provided the
appeals are in writing. ,

You are requesting a copy of all records regarding your student loan(s).

Enclosed is a copy of the Application and Promissory Note, Notice of Loan Guarantee
and Disclosure Statement, Idemnification Agreement, Loan Inquiry. Statement of
Purchased Account, Billing Statement, Correspondence, and a copy of a loan history
retrieved from NSLDS (National Student Loan Data System).
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Julian Rooks Jr.
February 14, 2018
Page 2 of 2

! trust that this information has been helpful to you.

Sincerely~.

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LO. AA . 4

a“

ae C
Meise Yancy-Venson
Loar’ Analyst

Operations Service
